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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

NORTHERN DISTRICT
MEADE COMMUNITIES, LLC *
7601 29‘h Division Road
Ft. Meade, Maryland 20755 *
Plaintiff, *
v. *
CARLEEN CALYPSO * Case No.:
2935 Olive Court #F
Ft. Meade, Maryland 20755 *
Defendant. *
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COMPLAINT

Comes now the Plaintiff, Meade Communities, LLC ("Meade“), by and through
undersigned counsel, and files this Complaint against Defendant, Carleen Calypso (“Calypso”),
and pleads the following:

STATEMENT OF FACTS

1. Plaintiff Meade is a Delaware limited liability corporation with its principal place
of business at Fort Meade, Maryland. Plaintiff Meade owns and operates family housing located
on Fort Meade, Maryland under the Department of Defense Military Housing Privatization
Initiative (10 U.S.C. § 2871, et seq.).

2. Calypso is a civilian Who currently occupies family housing owned and operated
by Meade. Specifically, Calypso occupies the property known as 2935 Olive Court #F, Fort

Meade, Maryland 20755 (the “Subject Premises”). Calypso executed a residential lease for the

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property of March 26, 2018. Calypso has failed to pay rent in a timely marmer pursuant to her
lease agreement over an extended period of time.

3. Subject matter jurisdiction in this action is proper under 28 U.S.C. § 1331. The
lease agreement at issue in this case involves a housing unit located on Ft. Meade, Maryland, a
military installation under exclusive federal legislative jurisdiction

4. Venue in this action is proper in the District of Maryland, Northern District, under
28 U.S.C. § 1391 (b) because, among other reasons, (l) Calypso resides at Ft. Meade in Anne
Arundel County, Maryland; (2) the lease agreement between Meade and Calypso involves real
property located on, and was entered into between the parties at, Ft. Meade, Maryland, a military

installation under federal jurisdiction; and, (3) Calypso may be found in the District of Maryland,

Northern District.
COUNT I
(Breach of Contract)
5. Pursuant to the Subject Lease, Calypso has occupied and continues to occupy the

Subject Premises. See Exhibit A, Resident Occupancy Agreement, which is hereby incorporated
into this Complaint.

6. Pursuant to the terms of the Subject Lease, Calypso agreed to pay rent in order to
occupy the Subject Premises. Ld. at l.

7. Pursuant to the terms of the Subject Lease, Meade is permitted to proceed with
eviction when the resident fails to pay rent. Ld. at 5.

8. As of February l, 2019, Calypso has failed to pay rent to Meade on multiple
occasions and owes unpaid rent and late fees to Meade. See Exhibit B, Calypso’s Tenant

Ledger, which is hereby incorporated into this Complaint.

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9. By failing to pay rent and late fees to Meade, Calypso materially breached the
Resident Occupancy Agreement between Meade and Calypso.

10. As a result of Calypso’s material breach of the Resident Occupancy Agreernent,
Calypso owes in excess of $18,238.46 in rent and late fees.

11. Calypso was sent Notices of Unpaid Rent and Balance Due Statements.

12. Notwithstanding the foregoing, Calypso continues to reside in the Subject
Premises and still has failed to pay rent, Which is currently due to Meade.

13. Calypso has breached the Subject Lease with Meade and is no longer entitled to
occupy the Subject Premises. Meade provided Calypso with written notice on December 26,
2018 that if the balance was not satisfied by January 25, 2019, Meade will file for breach of
contract to recover Calypso’s outstanding balance and her eviction pursuant to the Subj ect Lease.
See Exhibit C, Meade’s 30-Day Notice Letter to Calypso of March 30, 2018, which is hereby
incorporated into this Complaint.

14. Meade files this Complaint more than thirty (30) days subsequent to the final
notice to Calypso. Notwithstanding this notice, Calypso continues to occupy the Subject
Premises.

15. Meade is entitled to an Order of this Court evicting Calypso and Residents, as
listed under the Subject Lease, from the Subject Premises and instructing the United States

Marshals Service to enforce such Order.

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PRAYER FOR RELIEF
Wl-IEREFORE, Meade, requests that this Court:

A. Issue an Order of Eviction directing Calypso and Residents, as listed and
identified under the Subject Lease (redacted for privacy, minor, and contact infonnation), to
immediately vacate the Subject Premises and directing the United States Marshals Service to
enforce the same;

B. A judgment for the amount determined to be due;

C. Attorney’s fees and costs as provided for under the Subject Lease',

D. And for such further relief as the Court may deem appropriate

Respectfully submitted,

/S/Adam G. Smith
Paul J. Weber (Bar No. 03570)
Adam G. Smith (Ba_r No. 19241)
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